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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 07-cr-10-PB

Dung Nguyen, et al.


                             AMENDED ORDER


     Defendant, thru counsel, has moved to continue the June 5,

2007 trial in the above case, citing the need for additional time

to negotiate a plea agreement or prepare for trial.           The

government and co-defendant, Phuong Luong, do not object to a

continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from June 5, 2007 to October 10, 2007.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The May 22, 2007 final pretrial conference is continued to

September 24, 2007 at 4:00 p.m.

      No further continuances.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 21, 2007

cc:   Stanley Norkunas, Esq.
      Adam Bernstein, Esq.
      Jennifer Davis, Esq.
      United States Probation
      United States Marshal




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